Case 2:09-cr-00133-FVS   ECF No. 198   filed 08/20/10   PageID.1551 Page 1 of 6
Case 2:09-cr-00133-FVS   ECF No. 198   filed 08/20/10   PageID.1552 Page 2 of 6
Case 2:09-cr-00133-FVS   ECF No. 198   filed 08/20/10   PageID.1553 Page 3 of 6
Case 2:09-cr-00133-FVS   ECF No. 198   filed 08/20/10   PageID.1554 Page 4 of 6
Case 2:09-cr-00133-FVS   ECF No. 198   filed 08/20/10   PageID.1555 Page 5 of 6
Case 2:09-cr-00133-FVS   ECF No. 198   filed 08/20/10   PageID.1556 Page 6 of 6
